Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 1 of 23            FILED
                                                                  2018 Feb-15 PM 01:53
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




  EXHIBIT A
                                                         DOCUMENT 1
                                                                                                            ELECTRONICALLY FILED
                   Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 2 1/9/2018
                                                                             of 23 5:04 PM
                                                                                                               01-CV-2018-900111.00
State of Alabama                                                                             Case Number: CIRCUIT COURT OF
                                            COVER SHEET                                                JEFFERSON COUNTY, ALABAMA
Unified Judicial System
                                      CIRCUIT COURT - CIVIL CASE                             01-CV-2018-900111.00
                                                                                                  ANNE-MARIE ADAMS, CLERK
                                        (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev.5/99
                                                                                             01/09/2018

                                                GENERAL INFORMATION
                             IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                        WILLIAM BIRDYSHAW ET AL v. REVERSE MORTGAGE SOLUTIONS, INC.

First Plaintiff:       Business         Individual             First Defendant:         Business                Individual
                       Government       Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                   MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                     Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                        CVRT - Civil Rights
     TOWA - Wantonness                                       COND - Condemnation/Eminent Domain/Right-of-Way
     TOPL - Product Liability/AEMLD                          CTMP - Contempt of Court
     TOMM - Malpractice-Medical                              CONT - Contract/Ejectment/Writ of Seizure
     TOLM - Malpractice-Legal                                TOCN - Conversion
     TOOM - Malpractice-Other                                EQND - Equity Non-Damages Actions/Declaratory Judgment/
     TBFM - Fraud/Bad Faith/Misrepresentation                       Injunction Election Contest/Quiet Title/Sale For Division

     TOXX - Other:                                           CVUD - Eviction Appeal/Unlawful Detainer
                                                             FORJ - Foreign Judgment
TORTS: PERSONAL INJURY                                       FORF - Fruits of Crime Forfeiture
     TOPE - Personal Property                                MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TORE - Real Properly                                    PFAB - Protection From Abuse
                                                             FELA - Railroad/Seaman (FELA)
OTHER CIVIL FILINGS
                                                             RPRO - Real Property
     ABAN - Abandoned Automobile
                                                             WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ACCT - Account & Nonmortgage
                                                             COMP - Workers’ Compensation
     APAA - Administrative Agency Appeal
                                                             CVXX - Miscellaneous Circuit Civil Case
     ADPA - Administrative Procedure Act
     ANPS - Adults in Need of Protective Service

ORIGIN:      F       INITIAL FILING                     A       APPEAL FROM                               O       OTHER
                                                                DISTRICT COURT

             R       REMANDED                           T       TRANSFERRED FROM
                                                                OTHER CIRCUIT COURT

                                                                     Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                   YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                     MONETARY AWARD REQUESTED                     NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        EDG004                                   1/9/2018 5:04:35 PM                               /s/ HARRY ARTHUR EDGE III
                                            Date                                              Signature of Attorney/Party filing this form



MEDIATION REQUESTED:                            YES    NO      UNDECIDED
                                         DOCUMENT 2
                                                                              ELECTRONICALLY FILED
        Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 3 1/9/2018
                                                                  of 23 5:04 PM
                                                                               01-CV-2018-900111.00
                                                                               CIRCUIT COURT OF
                                                                          JEFFERSON COUNTY, ALABAMA
                                                                           ANNE-MARIE ADAMS, CLERK
            IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

WILLIAM BIRDYSHAW and                       )
CAROL BIRDYSHAW,                            )
                                            )
       Plaintiffs                           )
                                            )
vs.                                         )       Case No.: CV-
                                            )
REVERSE MORTGAGE                            )
SOLUTIONS, INC., a corporation;             )
and Fictitious Defendants “A”, “B”          )
and “C” thereby intending to refer          )
to the legal entity, person, firm or        )
corporation which was                       )
responsible for or conducted the            )
wrongful acts alleged in the                )
Complaint; names of the                     )
Fictitious parties are unknown to           )
the Plaintiffs at this time but             )
will be added by amendment                  )
when ascertained.                           )
                                            )       JURY TRIAL DEMANDED
                                            )
       Defendants                           )



                                        COMPLAINT


                                         I. PARTIES

       1.      Plaintiff William Birdyshaw is a resident citizen of Jefferson County, Alabama

aged nineteen (19) years or older.

      2.       Plaintiff Carol Birdyshaw is a resident citizen of Jefferson County, Alabama aged

nineteen (19) years or older.

       3.      Plaintiffs are the owners of a home situated in Jefferson County located at 4690

Elfreth Johnson Road, Birmingham, Alabama 35215 (hereinafter referred to as the “Property”).
                                          DOCUMENT 2
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       4.      Defendant, Reverse Mortgage Solutions, Inc., (hereinafter “RMS”) is a corporation

with its principal place of business in Houston, Texas, which does business by agents in Jefferson

County, Alabama.

       5.      Defendant RMS is the mortgagee on Plaintiffs’ property.

       6.      Fictitious Defendants “A”, “B” and “C” thereby intending to refer to the legal

entity, person, firm or corporation which was responsible for or conducted the wrongful acts

alleged in the counterclaim; names of the Fictitious parties are unknown to the Plaintiffs at this

time but will be added by amendment when ascertained. Where the term “Defendant” or

“Defendants” appears in this Complaint it is to be understood such terms also encompass Fictitious

Defendants.

       7.      This action arises out of Defendants’ wrongful foreclosure on Plaintiffs’ property.

                                      II. JURISDICTION

       8.      This Court has jurisdiction over this action as the minimum amount in controversy

is present. Venue is proper in this Court pursuant to Ala. Code Section 6-3-2 (6) and/or (7) (1975)

and Alabama Rule of Civil Procedure Section 82(c).

                                III. STATEMENT OF FACTS

       9.      Plaintiffs William Birdyshaw and Carol Birdyshaw are the owners of certain real

property situated in Jefferson County, Alabama, known as 4690 Elfreth Johnson Road,

Birmingham, Alabama 35215.

       10.     RMS is the financial institution which holds the note and mortgage on Plaintiffs’

Property.




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       11.     In June of 2013, Plaintiffs purchased a dishwasher from Lowes Home Centers, LLC

(“Lowes”). Lowes provided Plaintiffs with an express warranty that covered the dishwasher for

defects and maintenance.

       12.     On or about June 8, 2015, the dishwasher at the Property failed and the Property

was inundated with water which overflowed from the dishwasher, causing a great deal of damage

to the Property including extensive mold and mildew.

       13.     Plaintiffs promptly contacted Lowes and requested repair under the warranty.

Lowes, however, refused to perform its obligations.

       14.     Finally, after numerous calls and requests from Plaintiffs, Lowe’s agreed to perform

its obligations under the warranty, and hired an independent contractor to perform repairs on the

dishwasher. The contractor hired by Lowe’s arrived on or about June 26, 2015, and did nothing to

remediate the dishwasher, stating on the invoice “unit has been out of service for 5 wks [sic] with

waste inside. Health hazard and unserviceable”.

       15.     The Property was insured by The Travelers Insurance Company and after

investigation and the submission of estimates, Travelers issued a check to the Plaintiffs in the

amount of $17,688.34 in payment of the damages.

       16.     Defendant RMS was listed as an additional payee on the check from Travelers as a

result of the mortgage recorded on the Plaintiffs’ property.

       17.     Defendant RMS demanded that the Plaintiffs endorse the check and deliver it to

RMS.

       18.     On August 25, 2015, the Plaintiffs delivered the endorsed check to Defendant RMS

by overnight delivery. At that time, Defendant RMS was advised that Carol Birdyshaw was a

cancer patient and that it was critical that the repairs and mold remediation be commenced

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immediately. Accordingly, the Plaintiffs requested that the funds be returned by RMS to the

Plaintiffs so that the repair and remediation work at the Property could commence.

       19.     On September 2, 2015, when the Plaintiffs had received no funds or communication

from Defendant RMS, another letter was sent demanding that the funds be returned to the Plaintiffs

so they could commence repairs to their home, and advising the RMS that further delay would be

considered intentional and wrongful.

       20.     When no funds were received from RMS, on September 17, 2015, another demand

letter was delivered to RMS, again demanding that the funds be released to the Plaintiffs so that

the repairs could be commenced.

       21.     Defendants RMS failed and refused, after repeated demands, to release the

Plaintiffs’ insurance funds. A a result, Plaintiffs brought suit against Defendnant RMS and Lowes.

       22.     In or around February of 2017, despite Plaintiffs’ compliance with the terms of the

note, RMS claimed the Plaintiffs were in default under the terms of the note.

       23.     Misrepresentations were made to Plaintiffs regarding the character, amount, or

legal status of the debt. The amount of the debt was incorrect and not supported by law, the note

and the mortgage.

       24.     At all material times herein, Plaintiffs complied with all the terms, conditions and

covenants of the mortgage made the basis of this suit.

       25.     In March of 2017, Plaintiffs were informed that RMS published notice of Plaintiffs’

default in the Alabama Messenger and that their home would be foreclosed upon and sold on the

courthouse steps on March 28, 2017.

       26.     Upon learning of the aforementioned publication, Counsel for Plaintiffs contacted

RMS’s attorney by telephone to inquire as to why Plaintiffs’ home was listed for foreclosure. It is

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undisputed that the home was the subject of ongoing litigation and, therefore, such a foreclose

would be premature at that time.

       27.     On March 24, 2017, Counsel for Plaintiffs sent a letter to RMS requesting a

postponement and/or cancellation of the foreclosure due to the fact that such a foreclosure was

illegal and premature at that time.

       28.     Regardless of said conversations and despite its illegality, RMS foreclosed on

March 28, 2017.

       29.     The sale was without proper notice to Plaintiffs and in direct derogation of Alabama

common and statutory law.

       30.     On or about April 18, 2017, RMS compounded its wrongful foreclosure by filing

an ejectment action against Plaintiffs. This action was filed in the Circuit Court of Jefferson County

styled CV-2017-901573.

       31.     The Plaintiffs were served with the complaint for ejectment on or about April 25,

2017, and, due to the wrongful acts of the Defendants, the Plaintiffs eventually vacated. The

decision by the Plaintiffs to move was further exacerbated by the persistent and illegal visitations

by various agents of the Defendants.

       32.     Plaintiffs contend that the foreclosure sale and subsequent ejectment were

wrongful, tortious, illegal, in violation of law and the documents governing the relationship

between Plaintiffs and the owners of their mortgage.

       33.     On May 31, 2017, Defendants also concluded that the foreclosure of Plaintiffs’

Property was in error and attempted to undo it by filing a Notice of Nullification of Foreclosure

and Auctioneers Deed and Reinstatement of Note and Mortgage. Defendant’s Notice was recorded

on June 2, 2017. Unfortunately for all the parties involved, such a filing does not undo the

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malicious and wrongful foreclosure, ejectment, and persistent wrongful actions of Defendants

resulting in Plaintiffs’ relocation from the Property.

           34.   As a direct result of the acts complained of, Plaintiffs have been caused to suffer,

and will continue to suffer great mental anguish, damage to their reputation, economic and

emotional damages and claim from Defendants all damages allowable under the law.

           35.   At all times relevant hereto, all parties acted within the line and scope of any agency

relationship and all of their employees and agents acted with the line and scope of their

employment and/or agency relationship.

                                         IV. CAUSES OF ACTION:

                                      COUNT ONE - NEGLIGENCE

           36.   Plaintiffs reallege, as if fully set forth, each and every allegation contained in the

preceding paragraphs, and further allege that:

           37.   Defendants negligently conducted the foreclosure sale on Plaintiffs’ Property and

negligently ejected Plaintiffs from the home they rightfully own since the foreclosure performed

is void.

           38.   Defendants negligently handled, serviced, and processed payments, charges, fees,

expenses, and other aspects of Plaintiffs’ note and mortgage.

           39.   As a direct result of the Defendants’ negligence, Plaintiffs were injured and

damaged as alleged above.

                                     COUNT TWO - WANTONNESS

           40.   Plaintiffs reallege, as if fully set forth, each and every allegation contained in the

preceding paragraphs, and further allege that:



                                                   6
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       41.     RMS acted with reckless indifference to the consequences, and consciously and

intentionally conducted a wrongful foreclosure sale on Plaintiffs’ property.

       42.     RMS acted with reckless indifference to the consequences by consciously and

intentionally instituting an action to eject Plaintiffs from the home they rightfully own since the

foreclosure performed is void.

       43.     These actions were taken with reckless indifference to the consequences.

       44.     RMS knew that these actions were likely to result in injury to Plaintiffs including

financial and emotional injuries and mental anguish.

       45.     As a result, RMS is liable for all natural, proximate and consequential damages due

to its wantonness as well as punitive damages.

                            COUNT THREE - UNJUST ENRICHMENT

       46.     Plaintiffs reallege, as if fully set forth, each and every allegation contained in the

preceding paragraphs, and further allege that:

       47.     The actions of Defendants in foreclosing on Plaintiffs’ Property in violation of law

resulted in Defendants being unjustly enriched by the payment of fees, insurance proceeds and

equity in the home.

       48.     As a result of the Defendants’ unjust enrichment, Plaintiffs have been injured and

damaged by the illegal foreclosure and ejectment by Defendants.

                          COUNT FOUR - WRONGFUL FORECLOSURE

       49.     Plaintiffs reallege, as if fully set forth, each and every allegation contained in the

preceding paragraphs, and further allege that:

       50.     Defendants initiated a foreclosure proceeding against Plaintiffs in violation of law

and Defendants wrongfully brought an action for ejectment.

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       51.     The foreclosure proceedings and ejectment action by Defendants was either

negligent, wanton or intentional, depending on proof adduced at trial.

       52.     As a result, Defendants are liable for all natural, proximate and consequential

damages due to their actions including an award of punitive damages.

                             COUNT FIVE - BREACH OF CONTRACT

       53.     Plaintiffs reallege, as if fully set forth, each and every allegation contained in the

preceding paragraphs, and further allege that:

       54.     RMS breached the contract with Plaintiffs and thereby caused Plaintiffs incidental

and consequential damages (including mental anguish).

       55.     Plaintiffs claim all damages allowable under law.

             COUNT SIX - NEGLIGENT AND/OR WANTON HIRING, SUPERVISION,
                               AND/OR TRAINING

       56.     Plaintiffs reallege, as if fully set forth, each and every allegation contained in the

preceding paragraphs, and further allege that:

       57.     Defendants hired, supervised, and/or trained incompetent agents or employees who

committed some or all of the wrongful acts set forth in this Complaint.

       58.     Defendants knew or should have known of the incompetence of these agents or

employees.

       59.     Defendants were negligent or reckless in their hiring, supervision, and/or training

which led as a direct and proximate result to the damages suffered by Plaintiffs.

       60.     Plaintiffs claim all damages allowable under law.




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   COUNT SEVEN - ABUSE OF PROCESS AND/OR MALICIOUS PROSECUTION

       61.     Plaintiffs reallege, as if fully set forth, each and every allegation contained in the

preceding paragraphs, and further allege that:

       62.     Defendants committed abuse of process and/or malicious prosecution by initiating

the foreclosure and filing the eviction action in this matter with actual knowledge that Plaintiffs

were not in default of the note and mortgage.

       63.     All actions of Defendants were made intentionally and/or maliciously and led to

the damages of Plaintiffs as a direct proximate result.

       64.     Plaintiffs claim all damages allowable under law.

                                   COUNT EIGHT - FRUAD

       65.     Plaintiffs reallege, as if fully set forth, each and every allegation contained in the

preceding paragraphs, and further allege that:

       66.     Defendants violated Alabama Code §§ 6-5-101-104.

       67.     Plaintiffs further allege that the representations made to them by RMS that they

were in default on their mortgage were false, and Plaintiffs relied upon those representations to

their detriment.

       68.     As a proximate result of RMS’s false representations and suppressions of fact, the

Plaintiffs were (1) caused to have their home wrongfully foreclosed upon and sold, (2) sued for

eviction and required to hire an attorney, and (3) suffered mental anguish and emotional distress.

       WHEREFORE, Plaintiffs having set forth their claims for relief against Defendants,

respectfully pray of the Court as follows:

               a.      That Plaintiffs have and recover against Defendants a sum to be determined
                       by a jury of their peers in the form of actual damages;


                                                 9
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              b.     That Plaintiffs have and recover against Defendants a sum to be determined
                     by a jury of their peers in the form of punitive damages;

              c.     That Plaintiffs have and recover against Defendants a sum to be determined
                     by a jury of their peers in the form of statutory damages;

              d.     That Plaintiffs have reasonable attorney’s fees, costs, expenses;

              e.     That the foreclosure sale be set aside; and

              f.     That Plaintiffs have such other and further and proper relief as the Court
                     may deem just and proper.


Dated: January 9, 2018




                                                   s/H. Arthur Edge, III
                                                   H. Arthur Edge, III (EDG004)
                                                   Attorney for Plaintiff


OF COUNSEL:
H. ARTHUR EDGE, P.C.
2320 Highland Ave S., Suite 175
Birmingham, Alabama 35205
(205) 453-0322
(205) 453-0326 (fax)
E-mail: art@edgelawyers.com


                                                   /s/ Brian M. Cloud
                                                   Brian M. Cloud (CLO-010)
                                                   Attorney for Plaintiff


OF COUNSEL:
Cloud & Willis, LLC
201 Beacon Parkway West, Suite 400
Birmingham, Alabama 35209
(205) 322-6060
E-mail: brian@cloudwillislaw.com


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                               DOCUMENT 2
     Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 13 of 23




SERVE VIA CERTIFIED MAIL
REVERSE MORTGAGE SOLUTIONS, INC.
14405 WALTERS ROAD STES 110,200-500
HOUSTON, TX 77014




                                    11
           Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 14 of 23


                                      AlaFile E-Notice




                                                                         01-CV-2018-900111.00


To: HARRY ARTHUR EDGE III
    art@edgelawyers.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

              WILLIAM BIRDYSHAW ET AL V. REVERSE MORTGAGE SOLUTIONS, INC.
                                  01-CV-2018-900111.00

                      The following complaint was FILED on 1/9/2018 5:04:49 PM




    Notice Date:    1/9/2018 5:04:49 PM




                                                                          ANNE-MARIE ADAMS
                                                                       CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                               JEFFERSON COUNTY, ALABAMA
                                                            716 N. RICHARD ARRINGTON BLVD.
                                                                       BIRMINGHAM, AL, 35203

                                                                                 205-325-5355
                                                                 anne-marie.adams@alacourt.gov
           Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 15 of 23


                                      AlaFile E-Notice




                                                                         01-CV-2018-900111.00


To: REVERSE MORTGAGE SOLUTIONS, INC.
    14405 WALTERS ROAD
    SUITES 110, 200-500
    HOUSTON, TX, 77014




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

              WILLIAM BIRDYSHAW ET AL V. REVERSE MORTGAGE SOLUTIONS, INC.
                                  01-CV-2018-900111.00

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                                                               JEFFERSON COUNTY, ALABAMA
                                                            716 N. RICHARD ARRINGTON BLVD.
                                                                       BIRMINGHAM, AL, 35203

                                                                                 205-325-5355
                                                                 anne-marie.adams@alacourt.gov
                Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 16 of 23
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     01-CV-2018-900111.00
Form C-34 Rev. 4/2017                                - CIVIL -
                               IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                          WILLIAM BIRDYSHAW ET AL V. REVERSE MORTGAGE SOLUTIONS, INC.
  NOTICE TO:       REVERSE MORTGAGE SOLUTIONS, INC., 14405 WALTERS ROAD SUITES 110, 200-500, HOUSTON, TX 77014

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  HARRY ARTHUR EDGE III                                                                          ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2320 Highland Avenue South, Suite 175, BIRMINGHAM, AL 35205                                                      .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of WILLIAM BIRDYSHAW
     pursuant to the Alabama Rules of the Civil Procedure.                                        [Name(s)]

           1/9/2018 5:04:49 PM                            /s/ ANNE-MARIE ADAMS                By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ HARRY ARTHUR EDGE III
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
                          DOCUMENT 5
Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 17 of 23
                          DOCUMENT 5
Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 18 of 23
                          DOCUMENT 6
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                          DOCUMENT 6
Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 20 of 23
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                                      AlaFile E-Notice




                                                                           01-CV-2018-900111.00
                                                               Judge: CAROLE C. SMITHERMAN
To: EDGE HARRY ARTHUR III
    art@edgelawyers.com




                            NOTICE OF SERVICE
                 IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

             WILLIAM BIRDYSHAW ET AL V. REVERSE MORTGAGE SOLUTIONS, INC.
                                 01-CV-2018-900111.00

                            The following matter was served on 1/18/2018

                            D001 REVERSE MORTGAGE SOLUTIONS, INC.
                                         Corresponding To
                                      AUTHORIZED SERVICE
                                                S/C




                                                                          ANNE-MARIE ADAMS
                                                                       CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                               JEFFERSON COUNTY, ALABAMA
                                                            716 N. RICHARD ARRINGTON BLVD.
                                                                       BIRMINGHAM, AL, 35203

                                                                                 205-325-5355
                                                                 anne-marie.adams@alacourt.gov
           Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 22 of 23


                                      AlaFile E-Notice




                                                                           01-CV-2018-900111.00
                                                               Judge: CAROLE C. SMITHERMAN
To: HIATT ETHAN DANIEL
    ethan@edgelawyers.com




                            NOTICE OF SERVICE
                  IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

             WILLIAM BIRDYSHAW ET AL V. REVERSE MORTGAGE SOLUTIONS, INC.
                                 01-CV-2018-900111.00

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                            D001 REVERSE MORTGAGE SOLUTIONS, INC.
                                         Corresponding To
                                      AUTHORIZED SERVICE
                                                S/C




                                                                          ANNE-MARIE ADAMS
                                                                       CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                               JEFFERSON COUNTY, ALABAMA
                                                            716 N. RICHARD ARRINGTON BLVD.
                                                                       BIRMINGHAM, AL, 35203

                                                                                 205-325-5355
                                                                 anne-marie.adams@alacourt.gov
           Case 2:18-cv-00263-MHH Document 1-1 Filed 02/15/18 Page 23 of 23


                                       AlaFile E-Notice




                                                                            01-CV-2018-900111.00
                                                                Judge: CAROLE C. SMITHERMAN
To: CLOUD BRIAN MICHAEL
    bcloud@cloudwillis.com




                             NOTICE OF SERVICE
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

              WILLIAM BIRDYSHAW ET AL V. REVERSE MORTGAGE SOLUTIONS, INC.
                                  01-CV-2018-900111.00

                             The following matter was served on 1/18/2018

                             D001 REVERSE MORTGAGE SOLUTIONS, INC.
                                          Corresponding To
                                       AUTHORIZED SERVICE
                                                 S/C




                                                                           ANNE-MARIE ADAMS
                                                                        CIRCUIT COURT CLERK
                                                                JEFFERSON COUNTY, ALABAMA
                                                                JEFFERSON COUNTY, ALABAMA
                                                             716 N. RICHARD ARRINGTON BLVD.
                                                                        BIRMINGHAM, AL, 35203

                                                                                  205-325-5355
                                                                  anne-marie.adams@alacourt.gov
